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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  MERCK SHARP & DOHME B.V.; N.V.
  ORGANON; ORGANON USA LLC; and
  ORGANON LLC,                                                    Civil Action No. 25-2254

                             Plaintiffs,                       Document Electronically Filed

            v.                                             CERTIFICATION PURSUANT TO
                                                              LOCAL CIVIL RULE 11.2
  XIROMED PHARMA ESPAÑA, S.L.;
  XIROMED, LLC; and INSUD PHARMA,
  S.L.U.,

                             Defendants.


         Pursuant to Local Civil Rule 11.2, the undersigned counsel of record for Plaintiffs hereby

  certifies that to the best of my knowledge and based upon the information available to me, the

  matter in controversy is not the subject of any action pending in this or any other court or of any

  pending arbitration or administrative proceeding.


  Dated: April 2, 2025                            s/ William P. Deni, Jr.
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